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ATTORNEYS FOR GARY TRUST

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

IN RE:                                                 §
                                                       §
STW Resources Holding Corp.,                           §          CASE NO. 16-33121-bjh11
                                                       §          Chapter 11
         Debtor.                                       §

                AMENDED WITNESS AND EXHIBIT LIST OF GARY TRUST

         Comes now Gary Trust, a creditor and party-in-interest in the above-styled and numbered

bankruptcy case, and files this its Amended Witness and Exhibit List for the hearings scheduled

on November 1, 2016.

                                                Witnesses

         At the hearing, Gary Trust may call the following persons to testify as witnesses:

         1.      Gary Morris

         2.      Any witness designated by any other party

                                                Exhibits

         At the hearing Gary Trust may present one or more of the following exhibits:

 Exhibit                                 Description                          Offered     Admitted
  No.
   1     Docket Sheet

     2        Schedules of Assets and Liabilities [Docket No. 26]

     3        Amended Statement of Financial Affairs [Docket No. 53]




Witness and Exhibit List of Gary Trust
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 Exhibit                        Description                                   Offered       Admitted
  No.
   4     Gary Trust’s Motion to Convert Case to Chapter 7 [Docket
         No. 43]

     5       Debtor’s Response to Gary Trust’s Motion to Convert Case
             to Chapter 7 [Docket No. 62]

     6       Excerpt from Transcript of 341 Meeting of Creditors

     7       Monthly Operating Reports

     8       Any exhibits identified by any other party.



Debtor reserves the right to call or to introduce one or more, or none, of the witnesses and exhibits

listed above, and reserves the right to call additional witnesses and introduce additional exhibits in

rebuttal. Debtor further reserves the right to supplement this list prior to the hearing.

         Dated: October 31, 2016.

                                                       Respectfully Submitted

                                                       /s/ Joyce W. Lindauer
                                                       Joyce W. Lindauer
                                                       State Bar No. 21555700
                                                       Joyce W. Lindauer Attorney, PLLC
                                                       12720 Hillcrest Road, Suite 625
                                                       Dallas, Texas 75230
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                                                       (972) 503-4034 Facsimile

                                                       ATTORNEYS FOR GARY TRUST


                                     CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on October 31, 2016, a true and correct copy of the
foregoing document was served via email pursuant to the Court’s ECF filing system upon those
parties receiving electronic notice in this case.

                                                     /s/ Joyce W. Lindauer
                                                     Joyce W. Lindauer

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